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      Attorneys for Plaintiff and Counterdefendant
  7   GRUMPY CAT LIMITED
  8                         UNITED STATES DISTRICT COURT

  9         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

 10   GRUMPY CAT LIMITED, an Ohio                     Case No: 8:15-cv-02063-DOC-DFM
 11
      Limited Liability Entity,
                                                      PARTIES’ FINAL PRETRIAL
 12                Plaintiff,                         CONFERENCE ORDER (L.R. 16-7)
 13          vs.
 14   GRENADE BEVERAGE LLC, a
 15   California Limited Liability Company;
      PAUL SANDFORD, an individual;
 16   NICK SANDFORD, an individual; and
      DOES 1-50,
 17

 18
                   Defendants.
                                                      Case filed: December 11, 2015
 19   PAUL SANDFORD, an individual;                   FPTC:       December 18, 2017
      NICK SANDFORD, an individual; and                           8:30am
 20   GRUMPY BEVERAGE, LLC, a Texas                   Trial date: January 16, 2018
      Limited Liability Company,                      Judge:      Hon. David O. Carter
 21

 22                Counterclaimants,

 23          vs.
 24   GRUMPY CAT LIMITED, an Ohio
 25
      Limited Liability Entity; and ROES 1-5,

 26                Counterdefendants.
 27

 28


       PARTIES’ FINAL PRETRIAL CONFERENCE ORDER (L.R. 16-7)                         K:\5875-
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  1          Following pretrial proceedings, pursuant to F.R.Civ.P. 16 and L.R. 16, IT IS
  2   ORDERED:
  3          1.    The Parties are (1) Plaintiff and Counter-Defendant GRUMPY CAT
  4   LIMITED, (2) Defendant (in default) GRENADE BEVERAGE LLC, (3) Defendant
  5   and Counterclaimant PAUL SANDFORD, (4) Defendant and Counterclaimant NICK
  6   SANDFORD, and (5) Intervening Defendant and Counterclaimant GRUMPY
  7   BEVERAGE, LLC. All other parties named in the pleadings and not identified in the
  8   preceding paragraph are now dismissed.
  9          [There is a dispute between the parties regarding the implications of Grumpy
 10   Beverage, LLC’s intervention and its potential liability herein on Plaintiff’s
 11   Complaint. The parties’ respective positions are set forth below in Attachment “1”].
 12          The parties agree that each of the parties to the action has been served with the
 13   exception of Intervening Defendant and Counterclaimant GRUMPY BEVERAGE,
 14   LLC.
 15          [There is a dispute between the parties regarding the implications of the fact
 16   that Grumpy Beverage, LLC was not served with Plaintiff’s Complaint. The parties’
 17   respective positions are set forth below in Attachment “2”].
 18          2.    Federal jurisdiction and venue are undisputed and invoked upon the
 19   grounds that (a) this Court has exclusive federal question jurisdiction over this matter
 20   pursuant to 28 U.S.C. §§ 1331 and 1338, (b) this Court has supplemental jurisdiction
 21   over the parties’ claims arising under the laws of California pursuant to 28 U.S.C. §
 22   1367(a) because those claims are so related to the parties’ claims under federal law that
 23   they form part of the same case or controversy and derive from a common nucleus of
 24   operative fact, and (3) venue is proper in this District pursuant to 28 U.S.C. §§ 1391
 25   (b)(2)-(c) because the defendants are each subject to personal jurisdiction in this District
 26   and because a substantial part of the events, acts and/or omissions giving rise to the
 27   claims herein occurred in this District.
 28          3.    The trial is estimated to take 4 trial days.

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  1         4.        The trial is to be a jury trial, although Plaintiff’s accounting and
  2   cybersquatting causes of action and Defendants’ counterclaims for declaratory relief
  3   should be bifurcated and adjudicated by the Court after the jury has rendered its verdict.
  4   At least seven (7) days prior to the trial date the parties shall file and serve by e-mail,
  5   fax, or personal delivery: (a) proposed jury instructions as required by L.R. 51-1 and
  6   (b) any special questions requested to be asked on voir dire.
  7         5.        The following facts are admitted and require no proof:
  8                 Plaintiff entered into a license agreement with Defendant Grenade
  9                   Beverage, LLC dated May 31, 2013;
 10                 Plaintiff sent a letter to Grenade Beverage on December 11, 2015 stating
 11                   that Plaintiff was terminating the May 31, 2013 license agreement.
 12         6.        The following facts, though stipulated, shall be without prejudice to any
 13   evidentiary objection: None.
 14         7.        The parties plan to pursue the following claims against the following
 15   parties:
 16   Plaintiff:
 17         (a)       Plaintiff plans to pursue the following claims against the following
 18   defendants:
 19                   Claim 1:     Defendants Grenade Beverage, LLC, Paul Sandford, Nick
 20                                Sandford, and Grumpy Beverage, LLC infringed Plaintiff’s
 21                                copyrights (17 U.S.C. § 101 et seq.);
 22                   Claim 2:     Defendants Grenade Beverage, LLC, Paul Sandford, Nick
 23                                Sandford, and Grumpy Beverage, LLC infringed Plaintiff’s
 24                                federally registered trademarks (15 U.S.C. § 1114);
 25                   Claim 3:     Defendants Grenade Beverage, LLC, Paul Sandford, Nick
 26                                Sandford, and Grumpy Beverage, LLC infringed Plaintiff’s
 27                                common law and registered trademarks through false
 28                                designation of origin (15 U.S.C. § 1125(a));

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  1                Claim 4:     Defendants Grenade Beverage, LLC, Paul Sandford, Nick
  2                             Sandford, and Grumpy Beverage, LLC diluted Plaintiff’s
  3                             common law and registered trademarks (15 U.S.C. §
  4                             1125(c));
  5                Claim 5:     Defendants Paul Sandford and Grumpy Beverage, LLC
  6                             committed cybersquatting in connection with the
  7                             www.grumpycat.com domain (15 U.S.C. 1125(d))1;
  8                Claim 6:     Defendants Grenade Beverage, LLC and Grumpy Beverage,
  9                             LLC breached their contract with Plaintiff; and
 10                Claim 7:     Plaintiff seeks an accounting of moneys owed by Defendants
 11                             Grenade Beverage, LLC, Paul Sandford, Nick Sandford, and
 12                             Grumpy Beverage, LLC under (where applicable): (a) the
 13                             Copyright Act, (b) the Lanham Act, and (3) the subject
 14                             license agreement.
 15         Plaintiff also plans to pursue the following affirmative defenses in response to
 16   Defendants’ counterclaims:
 17                Affirmative Defense 1:    Defendants cannot recover on their
 18                                          counterclaims on account of their own unclean
 19                                          hands
 20                Affirmative Defense 2:    Defendants cannot recover any damages that
 21                                          could have been reasonably mitigated.
 22                Affirmative Defense 3:    Defendants cannot recover on their
 23                                          counterclaims because Defendants would be
 24                                          unjustly enriched by any such recovery
 25
      1
 26     Although Plaintiff’s cybersquatting claim against Grumpy Beverage was initially
      asserted as a counterclaim-in-reply after Grumpy Beverage intervened in this action,
 27
      Plaintiff respectfully requests that, in the interest of efficiency, the Court treat the
 28   cybersquatting allegations against Paul Sandford and Grumpy Beverage as a single
      claim.
                                                  3
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  1        (b)   The elements required to establish Plaintiff’s claims and affirmative
  2              defenses are:
  3              Claim 1:     Copyright Infringement.
  4              Plaintiff has the burden of proving:
  5                    (1)    Plaintiff is the owner of a valid copyright; and
  6                    (2)    Defendants copied original expression from the copyrighted
  7                           work.
  8                    See Ninth Circuit Manual of Model Jury Instructions: Civil § 17.5
  9                    (2017).
 10              Claims 2 and 3:      Trademark Infringement (15 U.S.C. § 1114; 15 U.S.C.
 11                                   § 1125(a))
 12              Plaintiff has the burden of proving:
 13                    (1)    Plaintiff’s subject registered and common law trademarks are
 14                           valid, protectable trademarks;
 15                    (2)    Plaintiff owns the subject trademarks; and
 16                    (3)    Defendants used Plaintiff’s subject trademarks and/or marks
 17                           similar to Plaintiff’s subject trademarks without the consent
 18                           of the plaintiff in a manner that is likely to cause confusion
 19                           among ordinary consumers as to the source, sponsorship,
 20                           affiliation, or approval of the goods.
 21                    See Ninth Circuit Manual of Model Jury Instructions: Civil § 15.6
 22                    (2017); Phillip Morris USA Inc. v. Shalabi, 352 F.Supp.2d 1067,
 23                    1072 (C.D.Cal.2004) (the essential elements of claims for
 24                    trademark infringement and false designation of origin are
 25                    identical); Brookfield Commc’ns, Inc. v. W. Coast Entm't Corp.,
 26                    174 F.3d 1036, 1047 n. 8 (9th Cir. 1999) (holding the same legal
 27                    standard applies to sections 32(1) and 43(a) of the Lanham Act);
 28                    Thane Int’l., Inc. v. Trek Bicycle Corp., 305 F.3d 894, 901 n.3 (9th

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  1                    Cir. 2002) (same standard applied for common law trademark
  2                    infringement as 15 U.S.C. § 1114 federal trademark infringement).
  3              Claim 4:     Trademark Dilution (15 U.S.C. § 1125(c))
  4              Plaintiff has the burden of proving:
  5                    (1)    Plaintiff’s subject registered and common law trademarks are
  6                           famous and distinctive;
  7                    (2)    Defendants made use of the subject trademarks in commerce;
  8                    (3)    Defendants’ use began after the subject trademarks became
  9                           famous; and
 10                    (4)    Defendants’ use of the subject trademarks is likely to cause
 11                           dilution by blurring or dilution by tarnishment.
 12                    See Jada Toys, Inc. v. Mattel, Inc., 518 F.3d 628, 634 (9th Cir.
 13                    2008).
 14              Claim 5:     Cybersquatting (15 U.S.C. 1125(d))
 15              Plaintiff has the burden of proving:
 16                    (1)    Defendants registered, trafficked in, or used a domain name;
 17                    (2)    the domain name is identical or confusingly similar to the
 18                           subject protected mark(s) owned by the Plaintiff; and
 19                    (3)    Defendants acted with bad faith intent to profit from the
 20                           mark(s).
 21                    See Ninth Circuit Manual of Model Jury Instructions: Civil § 15.31
 22                    (2017); DSPT Intern., Inc. v. Nahum, 624 F.3d 1213, 1218-19 (9th
 23                    Cir. 2010).
 24              Claim 6:     Breach of Contract
 25              Plaintiff has the burden of proving:
 26                    (1)    The parties entered into a contract;
 27                    (2)    Plaintiff did all, or substantially all, of the significant things
 28                           that the contract required it to do;

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  1                    (3)    Defendant failed to do something that the contract required it
  2                           to do;
  3                    (4)    Plaintiff was harmed;
  4                    (5)    Defendant’s breach of contract was a substantial factor in
  5                           causing Plaintiff’s harm.
  6                    California Civil Jury Instructions (CACI) § 303 (2017).
  7              Claim 7:     Accounting
  8              Plaintiff has the burden of proving:
  9                    (1)    A relationship exists between Plaintiff and Defendants that
 10                           requires an accounting; and
 11                    (2)    Some balance is due the plaintiff that can only be ascertained
 12                           by an accounting.
 13                    Jolley v. Chase Home Fin., LLC, 213 Cal. App. 4th 872, 910
 14                    (2013).
 15              Affirmative Defense 1:    Unclean Hands.
 16              Plaintiff has the burden of proving:
 17                    (1)    Inequitable conduct by Defendants;
 18                    (2)    Defendants’ conduct directly relates to the claims which they
 19                           have asserted against Plaintiff; and
 20                    (3)    Defendants’ conduct injured Plaintiff.
 21                    Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 518
 22                    F.Supp.2d 1197, 1223 (C.D. Cal. 2007).
 23              Affirmative Defense 2:    Failure to Mitigate.
 24              Plaintiff has the burden of proving:
 25                    (1)    Defendants failed to use reasonable efforts to mitigate their
 26                           damages; and
 27                    (2)    The amount by which damages would have been mitigated.
 28

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  1                    Ninth Circuit Manual of Model Jury Instructions: Civil § 5.3
  2                    (2017).
  3              Affirmative Defense 3:     Unjust enrichment.
  4              Plaintiff has the burden of proving:
  5                    (1)    Defendants’ receipt of a benefit and unjust retention of the
  6                           benefit at Plaintiff’s expense.
  7                    Lectrodryer v. SeoulBank, 77 Cal. App. 4th 723, 726 (2000).
  8        (c)   In brief, the key evidence Plaintiff relies on for each of its claims and
  9              affirmative defenses is:
 10              Claim 1:     Copyright Infringement
 11                    ELEMENT 1:
 12                  Plaintiff is the sole and exclusive owner of the copyrights in and to
 13                    certain photographs and an illustration of Grumpy Cat, which are
 14                    protected by U.S. Copyright Reg. Nos. VA0001849042,
 15                    VA0001849043, VA0001849044, and VA0001901628 (the
 16                    “Grumpy Cat Copyrights”), issued by the United States Copyright
 17                    Office on December 4, 2012 and December 18, 2013.
 18                  With respect to any derivative works were created by Defendants
 19                    (e.g. in connection with the labeling of the subject iced coffee
 20                    and/or ground coffee products), the copyrights in those works
 21                    would similarly be owned by Plaintiff under Section 4(b) of the
 22                    subject license agreement, which states: “All Works created
 23                    hereunder by Licensee or any of its agents and/or employees
 24                    embodying the Licensed Properties, including any adaptations
 25                    thereof or derivations therefrom (which shall at all times be made
 26                    solely with the prior written consent of Licensor) and the right to
 27                    copyright and/or trademark therein, shall from the inception of its
 28                    creation, be the sole and exclusive property of Licensor throughout

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  1                    the Territory in perpetuity within the meaning of the Copyright and
  2                    Trademark Laws throughout the world, free of any claim
  3                    whatsoever by Licensee or by any persons deriving any rights or
  4                    interests therefrom.”
  5                    ELEMENT 2:
  6                  The subject license agreement itself evidences that Defendants
  7                    were only provided a limited license to use Plaintiff’s copyrights in
  8                    connection with a line of iced coffee products. To the extent that
  9                    Defendants sought to use Plaintiff’s copyrights in connection with
 10                    other lines of products (e.g. a line of ground coffee products),
 11                    Plaintiff had the unfettered discretion to approve or disapprove such
 12                    use.
 13                  There is substantial evidence showing how Defendants were
 14                    repeatedly told by Plaintiff’s representatives (both in writing and
 15                    verbally) that Plaintiff’s copyrights could not be used in connection
 16                    with a line of ground coffee products, including on the following
 17                    occasions:
 18                     By email exchange on October 21, 2015, in which Paul Sandford
 19                       was told: “Approval is still required. Hold off until you hear
 20                       back from us.”
 21                     Verbally, during a November 2, 2015 conference call between
 22                       Paul Sandford, on the one hand, and Plaintiff’s transactional
 23                       counsel and brand manager, on the other hand.
 24                     By email exchange on November 2, 2015, in which Paul Sandford
 25                       was told: “Per our conversation of today, our client does not
 26                       approve this. Do not proceed.”
 27                     By email exchange on November 24, 2015, in which Paul
 28                       Sandford was told “You are not authorized to proceed with the

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 1                     ground coffee product, and your posting of these products for
 2                     sale will constitute a clear breach of the subject licensing
 3                     agreement…Do NOT proceed with the posting of the ground
 4                     coffee products.”
 5                   By email exchange on November 24, 2015, in which Paul
 6                     Sandford was told: “You are not authorized to proceed with a
 7                     “Grumpy Line” line of ground coffee products.”
 8                There are numerous emails in which, despite Plaintiff’s clear non-
 9                  approval of a ground coffee product, Defendants nevertheless
10                  admitted to distributing and reproducing Plaintiff’s copyrights on
11                  ground coffee products.
12                There is also evidence showing how Defendants had already began
13                  reproducing and distributing Plaintiff’s copyrights on ground coffee
14                  products before even asking for Plaintiff’s approval.
15                Plaintiff will also introduce samples of the actual infringing ground
16                  coffee products themselves that were sold and distributed despite
17                  Plaintiff’s non-approval.
18            Claims 2 and 3:    Trademark Infringement (15 U.S.C. § 1114; 15 U.S.C.
19                               § 1125(a))
20                  ELEMENT 1:
21                Plaintiff is the sole and exclusive owner of all federal and common
22                  law rights in and to the word mark “GRUMPY CAT” as used and
23                  registered in, inter alia, International Class 030 (Coffee and tea)
24                  (protected by U. S. Trademark Reg. No. 4,527,097 issued by the
25                  United States Patent and Trademark Office (the “USPTO”) on May
26                  6, 2014), and International Classes 021 (Coffee and Tea cups/mugs)
27                  and 041 (website services) (protected by U. S. Trademark Reg. No.
28                  4,417, 549 issued by the USPTO on October 15, 2013).

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 1                Plaintiff is the sole and exclusive owner of all federal and common
 2                  law rights in and to the image mark       , as used and registered in,
 3                  inter alia, International Class 021 (Coffee and Tea cups/mugs)
 4                  (protected by U. S. Trademark Reg. Nos. 4,820,434, issued by the
 5                  the USPTO on September 29, 2015).
 6                With respect to any adaptive or derivative works that were created
 7                  by Defendants (e.g. in connection with the labeling of the subject
 8                  iced coffee and/or ground coffee products), the trademarks
 9                  pertaining to those works would similarly be owned by Plaintiff
10                  under Section 4(b) of the subject License Agreement, which states:
11                  “All Works created hereunder by Licensee or any of its agents
12                  and/or employees embodying the Licensed Properties, including
13                  any adaptations thereof or derivations therefrom (which shall at all
14                  times be made solely with the prior written consent of Licensor)
15                  and the right to copyright and/or trademark therein, shall from the
16                  inception of its creation, be the sole and exclusive property of
17                  Licensor throughout the Territory in perpetuity within the meaning
18                  of the Copyright and Trademark Laws throughout the world, free of
19                  any claim whatsoever by Licensee or by any persons deriving any
20                  rights or interests therefrom.”
21                  ELEMENT 3:
22                The subject license agreement itself evidences that Defendants
23                  were only provided a limited license to use Plaintiff’s trademarks in
24                  connection with a line of iced coffee products. To the extent that
25                  Defendants sought to use Plaintiff’s trademarks in connection with
26                  other lines of products (e.g. a line of ground coffee products),
27                  Plaintiff had the unfettered discretion to approve or disapprove such
28                  use.

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 1                There is substantial evidence showing how Defendants were
 2                  repeatedly told by Plaintiff’s representatives (both in writing and
 3                  verbally) that Plaintiff’s trademarks could not be used in connection
 4                  with a line of ground coffee products, including on the following
 5                  occasions:
 6                   By email exchange on October 21, 2015, in which Paul Sandford
 7                     was told: “Approval is still required. Hold off until you hear
 8                     back from us.”
 9                   Verbally, during a November 2, 2015 conference call between
10                     Paul Sandford, on the one hand, and Plaintiff’s transactional
11                     counsel and brand manager, on the other hand.
12                   By email exchange on November 2, 2015, in which Paul Sandford
13                     was told: “Per our conversation of today, our client does not
14                     approve this. Do not proceed.”
15                   By email exchange on November 24, 2015, in which Paul
16                     Sandford was told “You are not authorized to proceed with the
17                     ground coffee product, and your posting of these products for
18                     sale will constitute a clear breach of the subject licensing
19                     agreement…Do NOT proceed with the posting of the ground
20                     coffee products.”
21                   By email exchange on November 24, 2015, in which Paul
22                     Sandford was told: “You are not authorized to proceed with a
23                     “Grumpy Line” line of ground coffee products.”
24                There are numerous emails in which, despite Plaintiff’s clear non-
25                  approval of a ground coffee product, Defendants nevertheless
26                  admitted to using Plaintiff’s trademarks on ground coffee products.
27

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 1                There is also evidence showing how Defendants had already began
 2                  using Plaintiff’s trademarks on ground coffee products before even
 3                  asking for Plaintiff’s approval.
 4                Plaintiff will also introduce samples of the actual infringing ground
 5                  coffee products themselves that were sold and distributed despite
 6                  Plaintiff’s non-approval.
 7            Claim 4:    Trademark Dilution (15 U.S.C. § 1125(c))
 8                  ELEMENTS 1 AND 3:
 9                It is an undisputed fact that the subject “GRUMPY CAT” marks are
10                  famous and distinctive and that Defendants’ began using the marks
11                  on ground coffee products after the marks had already become
12                  famous.
13                It is also undisputed that Plaintiff is the sole and exclusive owner of
14                  all federal and common law rights in and to the image mark            , as
15                  used and registered in, inter alia, International Class 021 (Coffee and
16                  Tea cups/mugs) (protected by U. S. Trademark Reg. Nos. 4,820,434,
17                  issued by the the USPTO on September 29, 2015).
18                  ELEMENT 2:
19                There are numerous emails in which, despite Plaintiff’s clear non-
20                  approval of a ground coffee product, Defendants nevertheless
21                  admitted to using Plaintiff’s trademarks on ground coffee products.
22                There is also evidence showing how Defendants had already began
23                  using Plaintiff’s trademarks on ground coffee products before even
24                  asking for Plaintiff’s approval.
25                Plaintiff will also introduce samples of the actual infringing ground
26                  coffee products themselves that were sold and distributed despite
27                  Plaintiff’s non-approval.
28                  ELEMENT 4:

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 1                Plaintiff will offer testimony from its representatives proving that
 2                  Defendants’ unauthorized use of Plaintiff’s trademarks tarnished
 3                  the reputation of those marks in the consumer marketplace.
 4            Claim 5:    Cybersquatting (15 U.S.C. 1125(d))
 5                  ELEMENT 1:
 6                The current WHOIS listing for www.GrumpyCat.com proves that it
 7                  is registered to both Paul Sandford and Grumpy Beverage.
 8                  ELEMENT 2:
 9                Plaintiff is the sole and exclusive owner of all federal and common
10                  law rights in and to the word mark “GRUMPY CAT” as used and
11                  registered in, inter alia, International Class 030 (Coffee and tea)
12                  (protected by U. S. Trademark Reg. No. 4,527,097 issued by the
13                  United States Patent and Trademark Office (the “USPTO”) on May
14                  6, 2014), and International Classes 021 (Coffee and Tea cups/mugs)
15                  and 041 (website services) (protected by U. S. Trademark Reg. No.
16                  4,417, 549 issued by the USPTO on October 15, 2013).
17                With respect to any derivative or adaptive works that were created
18                  by Defendants (e.g. in connection with the labeling of the subject
19                  iced coffee and/or ground coffee products), the trademarks
20                  pertaining to those works would similarly be owned by Plaintiff
21                  under Section 4(b) of the subject License Agreement, which states:
22                  “All Works created hereunder by Licensee or any of its agents
23                  and/or employees embodying the Licensed Properties, including
24                  any adaptations thereof or derivations therefrom (which shall at all
25                  times be made solely with the prior written consent of Licensor)
26                  and the right to copyright and/or trademark therein, shall from the
27                  inception of its creation, be the sole and exclusive property of
28                  Licensor throughout the Territory in perpetuity within the meaning

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 1                  of the Copyright and Trademark Laws throughout the world, free of
 2                  any claim whatsoever by Licensee or by any persons deriving any
 3                  rights or interests therefrom.”
 4                The domain name itself, www.GrumpyCat.com, is identical to
 5                  Plaintiff’s protected marks.
 6                  ELEMENT 3:
 7                Emails and other documents will demonstrate that Paul Sandford
 8                  and Grumpy Beverage, LLC entered into an agreement to obtain
 9                  the domain www.GrumpyCat.com from a third party without
10                  Plaintiff’s permission.
11                Testimony (and corresponding exhibits) will further prove that Paul
12                  Sandford and Grumpy Beverage used the unauthorized acquisition
13                  of www.GrumpyCat.com as leverage to try to renegotiate the
14                  subject license agreement so that it would apply to ground coffee
15                  products.
16            Claim 6:      Breach of Contract
17                  ELEMENT 1:
18                It is undisputed that (1) there is a valid license agreement between
19                  Plaintiff and Grenade Beverage, and (2) Grumpy Beverage entered
20                  into a sublicense agreement with Grenade that required Grumpy
21                  Beverage to comply with the duties and obligations in the license
22                  agreement
23                  ELEMENT 2:
24                Plaintiff will provide extensive testimony and corresponding
25                  exhibits which prove that Plaintiff performed (and actually went
26                  well beyond) its limited obligations under the license agreement.
27                   First and foremost, Plaintiff performed by allowing Grumpy
28                       Beverage to use the licensed copyrights and trademarks in

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 1                     connection with a line of iced coffee products. The testimony
 2                     (and corresponding exhibits) will show that this allowance was
 3                     the primary reason why Grenade and Grumpy Beverage had
 4                     paid the $150,000 license fee to Plaintiff.
 5                   Moreover, while the face of the license agreement itself
 6                     demonstrates that it imposes no affirmative promotional
 7                     obligations on Plaintiff, there are more than 50 pages of
 8                     documents evidencing the substantial social media promotional
 9                     efforts that Plaintiff gave to the iced coffee product, including
10                     even after Defendants had breached the license agreement.
11                   Plaintiff will also present testimony and corresponding video
12                     footage evidencing how it further promoted the iced coffee
13                     product in the news media, including on the “Fox and Friends”
14                     national television program.
15                To the extent that Plaintiff was required to give notice of default
16                  and an opportunity to cure before terminating the license agreement
17                  (such notice was not, however, required in order to merely assert a
18                  breach claim against Grumpy Beverage), Plaintiff repeatedly
19                  provided this notice to Grumpy Beverage, including without
20                  limitation on October 22, 2015 and December 9, 2015. Any further
21                  notice would have been futile.
22                  ELEMENT 3:
23                As was already introduced in opposition to Grumpy Beverage’s
24                  motion for partial summary judgment, thee evidence will
25                  demonstrate how Grumpy Beverage repeatedly, and without
26                  justification, failed to properly and timely account to Plaintiff as
27                  required under the license agreement and sublicense agreement,
28                  including with respect to the payment of royalties.

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 1                The evidence will further demonstrate how Grumpy Beverage used
 2                  Plaintiff’s trademarks and copyrights without Plaintiff’s approval,
 3                  as required under the license agreement and sublicense agreement.
 4                The evidence will further demonstrate that Grumpy Beverage,
 5                  without Plaintiff’s authorization or even knowledge, entered into an
 6                  agreement to purchase the domain www.grumpycat.com – a
 7                  domain which is comprised solely of Plaintiff’s own GRUMPY
 8                  CAT mark.
 9                  ELEMENTS 4 AND 5:
10                The evidence, including (1) emails from Nick Sandford and Paul
11                  Sandford, (2) Paul Sandford’s own deposition testimony, and (3)
12                  Defendants’ self-serving purported “expert report” will demonstrate
13                  that Plaintiff’s reasonable expectation when it entered into the
14                  subject license agreement was that it would make millions of
15                  dollars in royalties. On account of Grumpy Beverage’s failure to
16                  perform its obligations, Plaintiff has been deprived of this expected
17                  benefit of the bargain.
18                Although Plaintiff will also request recovery of any and all monies
19                  either (1) due to Plaintiff based on sales made under the license
20                  agreement, or (2) unlawfully obtained by Grenade Beverage and/ro
21                  Grumpy Beverage based on their sale and exploitation of
22                  unauthorized products. However, because Defendants are
23                  exclusively in control over the financial information necessary to
24                  ascertain the exact amounts owed to Plaintiff, an accounting is
25                  necessary to determine the amount of Plaintiff’s damages in this
26                  respect.
27            Claim 7:    Accounting
28

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 1                  Plaintiff’s entitlement to an accounting will only arise if it prevails
 2                    on one or more of its other causes of action. However, assuming it
 3                    does, the evidence will show that Plaintiff has never been provided
 4                    with a full and complete accounting of Defendants’ books and
 5                    records, and therefore an accounting is necessary in order to
 6                    determine what, if any, balance is due to Plaintiff.
 7              Affirmative Defense 1:    Unclean Hands
 8                  The evidence supporting this affirmative defense is the same
 9                    evidence of Defendants’ wrongdoing supporting Plaintiff’s prima
10                    facie claims.
11              Affirmative Defense 2:    Failure to Mitigate
12                  The evidence will show how Defendants had already began using
13                    Plaintiff’s copyrights and trademarks on ground coffee products
14                    before even asking for Plaintiff’s approval. Thus, to the extent that
15                    Defendants incurred any costs or expenses in connection with the
16                    creation and/or promotion of this unapproved product, such
17                    expenditures could (and should) reasonably have been mitigated.
18              Affirmative Defense 3:    Unjust Enrichment
19                  The substantial evidence supporting Plaintiff’s prima facie claims
20                    against Defendants will prove that any recovery by Defendants in
21                    this action would cause Defendants to be unjustly enriched by their
22                    own misconduct.
23   Defendants:
24        (a)   Defendants plan to pursue the following claims against the Plaintiff:
25

26              Claims 1-3: Grumpy Beverage, LLC seeks a declaration from the Court
27                           that it has an ownership interest in the intellectual property
28                           rights that it created during the performance of the contract -

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 1                              e.g., Trademark (Claim 1), Copyright (Claim 2) and Domain
 2                              Names (Claim 3);
 3                Claims 4-5: Grumpy Beverage, LLC seeks a declaration from the Court
 4                              that it did not infringe any intellectual property right of
 5                              Grumpy Cat Ltd. – e.g., Trademark (Claim 4) and Copyright
 6                              (Claim 5);
 7                Claim 6:      Intentional Misrepresentation: Grumpy Beverage, LLC v.
 8                              Grumpy Cat Ltd.;
 9                Claim 7:      Negligent Misrepresentation: Grumpy Beverage, LLC v.
10                              Grumpy Cat Ltd.;
11                Claim 8:      Breach Of Fiduciary Duty: Grumpy Beverage, LLC v.
12                              Grumpy Cat Ltd.;
13                Claim 9:      Breach Of Contract: Grumpy Beverage, LLC v. Grumpy Cat
14                              Ltd.;
15                Claim 10:     Breach Of The Covenant Of Good Faith And Fair Dealing:
16                              Grumpy Beverage, LLC v. Grumpy Cat Ltd.; and
17                Claim 11:     Intentional Interference With Contractual Relations: Grumpy
18                              Beverage, LLC v. Grumpy Cat Ltd.; and
19                Claim 12:     Intentional Interference With Prospective Economic
20                              Advantage: Grumpy Beverage, LLC v. Grumpy Cat Ltd..
21

22         Defendants also plan to pursue the following affirmative defenses in response to
23   Plaintiff’s claims:
24                Affirmative Defenses
25                3, 4, 5, 7, 8 and 9:       Many of the affirmative defenses asserted by
26                                           Defendant are attributable to the fact that
27                                           Plaintiff intentionally omitted the one party who
28                                           actually undertook any activity in these

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 1                                       proceedings, namely, Intervening Defendant
 2                                       Grumpy Beverage LLC. Intervening Defendant
 3                                       and Counterclaimant Grumpy Beverage, LLC
 4                                       therefore assert that the entire broad range of
 5                                       affirmative defenses potentially apply in this
 6                                       case should Plaintiff seek to use the actions of
 7                                       Intervening Defendant Grumpy Beverage, LLC
 8                                       as evidence in these proceedings.
 9             Affirmative Defense 6:    Plaintiff cannot recover any damages because of
10                                       unclean hands.
11             Affirmative Defense 7:    Acquiescence Defendants cannot recover on
12                                       their counterclaims because Defendants would
13                                       be unjustly enriched by any such recovery
14             Affirmative Defense 8:    Estoppel Defendants cannot recover on their
15                                       counterclaims because Defendants would be
16                                       unjustly enriched by any such recovery
17             Affirmative Defense 9:    Waiver and Release Defendants cannot recover
18                                       on their counterclaims because Defendants
19                                       would be unjustly enriched by any such
20                                       recovery
21             Affirmative Defense 18: Plaintiff cannot recover any damages that could
22                                       have been reasonably mitigated.
23

24       (b)   The elements required to establish Counterclaimant’s claims and
25             affirmative defenses, as well as the brief description of evidence for same,
26             are as follows:
27

28

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 1     Counterclaims 1-3 (Declaratory Judgment For Ownership Of Trademark,
 2      Copyright and Domain Name) and 4-5 (Declaratory Judgment For Non-
 3                   Infringement of Trademark and Copyright)
 4    (Paul Sandford, Nick Sandford and Grumpy Beverage, LLC v. Grumpy Cat Ltd.)
 5          Counterclaimants seek a declaration from the Court that Counterclaimant
 6            Grumpy Beverage, LLC is the “Company” under the license agreement.
 7            While the license agreement states who shall own intellectual property as
 8            between Licensor and Licensee, it is silent as to “Company.”
 9            Counterclaimants assert that the parties intended to create a coffee brand
10            with independent value that could be sold separate and apart from the
11            license agreement. Accordingly, the parties anticipated that ownership as
12            between Licensor and Company would belong to Company; thus,
13            Company owns all intellectual properties (trademark, copyright and
14            domain name) that were created by Company. Counterclaimants are not
15            entitled to a jury trial on these issues and the Court should decide these as
16            a matter of law. Big Dog Motorcycles, L.L.C. v. Big Dog Holdings, Inc.,
17            400 F. Supp. 2d 1273, 1275-1276 (D. Kan. 2005) (Absent a damage claim
18            “the right to a jury trial is not triggered in a trademark case in which the
19            plaintiff seeks only equitable relief such as an injunction and/or a
20            declaratory judgment.”)(Citing Anti-Monopoly, Inc. v. General Mills Fun
21            Group, Inc., 1976 U.S. Dist. LEXIS 12741, Case No. C 74-0529, 1976
22            WL 20999 (N.D. Cal. Oct. 15, 1976), among others).
23          Evidence shall consist of the license agreement, testimony and email of
24            the witnesses as to the intent for Company to own the intellectual property
25            rights. Even if the contract were interpreted such that ownership is
26            properly within Plaintiff, then Defendant’s activities were consistent with
27            the license agreement and are therefore non-infringing.
28

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 1                  Counterclaim 6: Intentional Misrepresentation
 2                    (Grumpy Beverage, LLC v. Grumpy Cat Ltd.)
 3          Counterdefendant represented to Counterclaimants that a fact was true;
 4          Counterdefendant’s representation was false;
 5          Counterdefendant knew that the representation was false when
 6            Counterdefendant made it, or that Counterdefendant made the
 7            representation recklessly and without regard for its truth;
 8          Counterdefendant intended that Counterclaimants rely on the
 9            representation;
10          Counterclaimants reasonably relied on Counterdefendant’s representation;
11          Counterclaimants was harmed; and
12          Counterclaimants’ reliance on Counterdefendant’s representation was a
13            substantial factor in causing Counterclaimants’ harm.
14          See CACI 1900.
15          Evidence shall consist of consist of the license agreement, testimony text
16            messages and emails of the witnesses as to the representations and
17            omissions of Plaintiff relating to the near term release of a feature film for
18            Grumpy Cat and Plaintiff’s ability to reach millions of social media
19            subscribers (which could not be done without “boosting” as significant
20            additional costs) prior to the formation of a contract.
21

22                   Counterclaim 7: Negligent Misrepresentation
23                    (Grumpy Beverage, LLC v. Grumpy Cat Ltd.)
24          Counterdefendant represented to Counterclaimants that a fact was true;
25          Counterdefendant’s representation was not true;
26          Although Counterdefendant may have honestly believed that the
27            representation was true, Counterdefendant had no reasonable grounds for
28            believing the representation was true when Counterdefendant made it;

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 1          Counterdefendant intended that Counterclaimants rely on this
 2            representation;
 3          Counterclaimants reasonably relied on Counterdefendant’s representation;
 4          Counterclaimants were harmed; and
 5          Counterclaimants’ reliance on Counterdefendant’s representation was a
 6            substantial factor in causing Counterclaimants’ harm.
 7          See CACI 1903.
 8          Evidence shall consist of consist of the license agreement, testimony text
 9            messages and emails of the witnesses as to the representations and
10            omissions of Plaintiff relating to the near term release of a feature film for
11            Grumpy Cat and Plaintiff’s ability to reach millions of social media
12            subscribers (which could not be done without “boosting” as significant
13            additional costs) prior to the formation of a contract.
14

15                    Counterclaim 8: Breach Of Fiduciary Duty
16                    (Grumpy Beverage, LLC v. Grumpy Cat Ltd.)
17          Counterdefendant was Counterclaimants’ officer/partner;
18          Counterdefendant knowingly acted against Counterclaimants’ interests in
19            connection with the performance of the license agreement;
20          Counterclaimants did not give informed consent to Counterdefendant’s
21            conduct;
22          Counterclaimants were harmed; and
23          Counterdefendant’s conduct was a substantial factor in causing
24            Counterclaimant’s harm.
25          See CACI 4102.
26          Evidence shall consist of the agreement, testimony and email from
27            witnesses demonstrating Plaintiff’s failure to participate in the limited
28            liability company of Intervening Defendant Grumpy Beverage LLC,

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 1            Plaintiff’s failure to approve products against the interests of the company
 2            and resulting in financial harm.
 3

 4                         Counterclaim 9: Breach Of Contract
 5                    (Grumpy Beverage, LLC v. Grumpy Cat Ltd.)
 6          That plaintiff and defendant entered into a contract;
 7          That Counterclaimants did all, or substantially all of the significant things
 8            that the contract required them to do or that they were excused from
 9            having to do those things;
10          That all conditions required for Counterclaimants’ performance had
11            occurred or were excused;
12          That Counterclaimants’ were harmed by Counterdefendant’s conduct.
13          See CACI 300.
14          Evidence shall consist of the agreement, testimony and email from
15            witnesses.
16

17                  Counterclaim 10: Breach Of The Covenant Of
18                            Good Faith And Fair Dealing
19                    (Grumpy Beverage, LLC v. Grumpy Cat Ltd.)
20          That plaintiff and defendant entered into a contract;
21          That Counterclaimants did all, or substantially all of the significant things
22            that the contract required them to do or that they were excused from
23            having to do those things;
24          That all conditions required for Counterclaimants’ performance had
25            occurred or were excused;
26          That Counterdefendant unfairly interfered with Counterclaimants’ right to
27            receive the benefits of the contract; and
28          That Counterclaimants’ were harmed by Counterdefendant’s conduct.

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 1          See CACI 325.
 2          Evidence shall consist of the agreement, testimony and email from
 3            witnesses demonstrating Plaintiff’s failure to participate in the limited
 4            liability company of Intervening Defendant Grumpy Beverage LLC,
 5            Plaintiff’s failure to approve products against the interests of the company
 6            and resulting in financial harm.
 7

 8       Counterclaim 11: Intentional Interference With Contractual Relations
 9                     (Grumpy Beverage, LLC v. Grumpy Cat Ltd.)
10          That there was a contract between Intervening Defendant Grumpy
11            Beverage LLC and customers;
12          That Plaintiff knew of the contract(s);
13          That Plaintiff’s conduct prevented performance or made performance
14            more expensive or difficult;
15          That Plaintiff intended to disrupt the performance of the contract(s)/ or
16            knew that disruption of performance was certain or substantially certain to
17            occur;
18          That Intervening Defendant Grumpy Beverage LLC was harmed; and
19          That Plaintiff’s conduct was a substantial factor in causing Intervening
20            Defendant Grumpy Beverage LLC harm.
21          See CACI 2201.
22          Evidence shall consist of the agreement, testimony and email from
23            witnesses demonstrating Plaintiff’s refusal to approve products against the
24            interests of the company and knowing that buyers and prospective buyers
25            would not be able to purchase the product thereby resulting in financial
26            harm.
27

28                     Counterclaim 12: Intentional Interference

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 1                       With Prospective Economic Advantage
 2                     (Grumpy Beverage, LLC v. Grumpy Cat Ltd.)
 3          That plaintiff and 1) plaintiffs’ customers and 2) Larry Thornton were in
 4            an economic relationship that probably would have resulted in an
 5            economic benefit to plaintiff;
 6          That defendant knew of the relationship;
 7          That defendant engaged in acts of unfair competition and
 8            misappropriation of trade secret;
 9          That by engaging in this conduct, defendant intended to disrupt the
10            relationship or knew that disruption of the relationship was certain or
11            substantially certain to occur;
12          That the relationship was disrupted;
13          That plaintiff was harmed; and
14          That defendants’ conduct was a substantial factor in causing plaintiffs’
15            harm.
16          See CACI 2202.
17          Evidence shall consist of the agreement, testimony and email from
18            witnesses demonstrating Plaintiff’s refusal to approve products against the
19            interests of the company and knowing that buyers and prospective buyers
20            would not be able to purchase the product thereby resulting in financial
21            harm.
22

23             Affirmative Defenses 3 (Standing), 4 (Failure to Join an
24                    Indispensable Party), 5 (Laches), 7 (Estoppel),
25                          8 (Acquiescence), and 9 (Waiver).
26          Many of the affirmative defenses asserted by Defendant are attributable to
27            the fact that Plaintiff intentionally omitted the one party who actually
28            undertook any activity in these proceedings, namely, Intervening

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 1            Defendant Grumpy Beverage LLC. Intervening Defendant and
 2            Counterclaimant Grumpy Beverage, LLC therefore assert that the entire
 3            broad range of affirmative defenses potentially apply in this case should
 4            Plaintiff seek to use the actions of Intervening Defendant Grumpy
 5            Beverage, LLC as evidence in these proceedings, including, without
 6            limitation, Standing (3), Failure to Join an Indispensable Party (4), Laches
 7            (5), Estoppel (7), Acquiescence (8), and Waiver (9).
 8

 9                      Affirmative Defense 6: Unclean Hands
10          Defendant must prove the following by a preponderance of the evidence:
11          Plaintiff’s conduct was unconscionable;
12          the conduct relates to the subject matter of Plaintiff’s claims; and
13          the conduct resulted in prejudice to the Defendants.
14          Brother Records v. Jardine, 318 F.3d 900 (9th Cir. 2003); Levi Strauss &
15            Co. v. Shilon, 121 F.3d 1309, 1313 (9th Cir. 1997); Fuddruckers, Inc. v.
16            Doc's B.R. Others, Inc., 826 F.2d 837, 847 (9th Cir. 1987); Unilogic, Inc.
17            v. Burroughs Corp (1992) 10 Cal.App.4th 612, 618-623, 12 Cal.Rptr.2d
18            741; Soon v. Beckman (1965) 234 Cal.App.2d 33, 36, 44 Cal.Rptr. 190;
19            Fibreboard Paper Products Corp. v. East Bay Union of Machinists
20            (1964) 227 Cal.App.2d 675, 728, 39 Cal.Rptr. 64.
21          Consistent with the evidence relating to intentional and negligent
22            misrepresentation, counterclaimants will show that plaintiff’s conduct was
23            unconscionable.
24

25                       Affirmative Defense 7: Acquiescence
26          A party has full knowledge or sufficient notice of its rights and of all the
27            material facts, freely does what amounts to a recognition or adoption of a
28            contract as existing, or acts in a manner inconsistent with its repudiation,

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 1            and so as to affect or interfere with the relations and situation of the
 2            parties, that party acquiesces in and assents to it.
 3          Plaintiffs have the burden of proving, by a preponderance of the evidence,
 4            that Defendants acquiesced to Plaintiffs’ continued activities in Temecula.
 5            If you conclude that Clockwork acquiesced to Donaldson doing so, then
 6            you must find for Donaldson. Inxight Software, Inc. v. Verity, Inc., No. C
 7            05-01660 SC, 2006 WL 732550, (N.D. Cal. Feb. 13, 2006) (citing Bisbing
 8            v. Sterling Precision Corp., 34 A.D.2d 427, 430–31 (N.Y. App. Div.
 9            1970).
10

11                          Affirmative Defense 8: Estoppel
12          Counterclaimant was apprised of the facts;
13          Counterclaimant intended his conduct to be acted upon or he acted in such
14            a way that Counterdefendant reasonably could believe that
15            Counterclaimant intended his conduct to be acted upon;
16          Counterdefendant was ignorant of the actual facts; and
17          Counterdefendant relied upon the conduct to Counterdefendant’s injury –
18            or – that plaintiff has by his conduct or declarations misled
19            Counterdefendant to Counterdefendant prejudice. Adams v. Johns-
20            Manville Corp., 876 F.2d 702 (9th Cir. 1989); see also Youngman v.
21            Nevada Irr. Dist., 449 P.2d 462 (Cal. 1969)
22

23

24                     Affirmative Defense 9: Waiver And Release
25          A party may waive or release a right by: 1) intentionally relinquishing the
26            rights; or 2) engaging in conduct so inconsistent with an intent to enforce
27            the right as to induce a reasonable belief that such right has been
28

                                 27
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 1            relinquished. Intel Corp. v. Hartford Acc. & Indem. Co., 952 F.2d 1551
 2            (9th Cir. 1991).
 3          Counterclaimants must prove both of the following by clear and
 4            convincing evidence: 1) That Counterdefendant knew Counterclaimants
 5            were required to perform; and 2) That Counterdefendant freely and
 6            knowingly gave up Counterdefendant’s right to have Counterclaimants
 7            perform the obligation(s).
 8          A waiver may be oral or written or may arise from conduct that shows
 9            that Counterdefendant gave up that right.
10          If Counterclaimants prove that Counterdefendants gave up
11            Counterdefendant’s right to Counterclaimants performance, then
12            Counterclaimants were not required to perform the obligation(s).
13          See CACI 336.
14          Evidence in the form of testimony witnesses, emails and financial
15            documents will show that Defendants not only cured any alleged
16            breaches, but that Plaintiff failed to take action thereby supporting
17            defenses 7-9.
18

19                   Affirmative Defense 18: Failure To Mitigate
20          If Counterdefendants breached the contract and the breach caused harm,
21            Counterclaimants are not entitled to recover damages for harm that
22            Counterdefendants proves Counterclaimants could have avoided with
23            reasonable efforts or expenditures. Consideration should be given to the
24            reasonableness of Counterclaimants efforts in light of the circumstances
25            facing it at the time, including its ability to make the efforts or
26            expenditures without undue risk or hardship.
27          If Counterclaimants made reasonable efforts to avoid harm, then your
28            award should include reasonable amounts that it spent for this purpose.

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 1                   See CACI 358
 2             8.     In view of the admitted facts and the elements required to establish the
 3   claims, counterclaims, and affirmative defenses, the following issues remained to be
 4   tried2:
 5                    a. Did the May 31, 2013 agreement between Plaintiff and Grenade
 6                       Beverage, LLC (the “Agreement”) pre-approve the sale of ground
 7                       coffee products?
 8                    b. Did Plaintiff substantially perform all of its material obligations under
 9                       the Agreement?
10                    c. If Plaintiff did not substantially perform all of its material obligations
11                       under the Agreement, was performance excused or waived?
12                    d. If Plaintiff did not substantially perform all of its material obligations
13                       under the Agreement, and if performance was not excused or waived,
14                       was Defendant Grumpy Beverage damaged by Plaintiff’s lack of
15                       performance and in what amount?
16                    e. Did Plaintiff do something that the Agreement prohibited it from
17                       doing?
18                    f. If Plaintiff did something that the Agreement prohibited it from doing,
19                       was Defendant Grumpy Beverage damaged by Plaintiff’s conduct and
20                       in what amount?
21                    g. Is Defendant Grumpy Beverage an intended third party beneficiary
22                       under the Agreement?
23                    h. Did Defendant Grumpy Beverage substantially perform all of its
24                       material obligations as a third party beneficiary and/or sublicensee
25                       under the Agreement?
26

27
     2
28     These issues do not include the issues that would be addressed by the Court in a post-
     trial motion for default judgment against defaulted defendant Grenade Beverage, LLC.
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 1            i. If Defendant Grumpy Beverage did not substantially perform all of its
 2               material obligations as a third party beneficiary and/or sublicensee
 3               under the Agreement, was performance excused or waived?
 4            j. If Defendant Grumpy Beverage did not substantially perform all of its
 5               material obligations as a third party beneficiary and/or sublicensee
 6               under the Agreement, and if performance was not excused or waived,
 7               was Plaintiff damaged by Defendant Grumpy Beverage’s lack of
 8               performance and in what amount?
 9            k. Did Defendant Grumpy Beverage do something that the Agreement
10               prohibited it from doing?
11            l. If Defendant Grumpy Beverage did something that the Agreement
12               prohibited it from doing, was Plaintiff damaged by Grumpy
13               Beverage’s conduct and in what amount?
14            m. What ownership interest, if any, does Grumpy Beverage, LLC have in
15               any “Grumpy Cat” branded iced and/or coffee product(s) that were
16               created prior to December 11, 2015?
17            n. Did Defendants Paul Sandford, Nick Sandford and/or Grumpy
18               Beverage infringe Plaintiff’s copyrights by advertising and selling a
19               ground coffee product?
20            o. If Defendants Paul Sandford, Nick Sandford and/or Grumpy Beverage
21               infringed Plaintiff’s copyrights by advertising and selling a ground
22               coffee product, what amount of damages should be awarded to
23               Plaintiff?
24            p. Did Defendants Paul Sandford, Nick Sandford and/or Grumpy
25               Beverage infringe Plaintiff’s registered and/or common law
26               trademarks by advertising and selling a ground coffee product?
27            q. If Defendants Paul Sandford, Nick Sandford and/or Grumpy Beverage
28               infringed Plaintiff’s registered and/or common law trademarks by

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 1               advertising and selling a ground coffee product, what amount of
 2               damages should be awarded to Plaintiff?
 3            r. Did Defendants Paul Sandford, Nick Sandford and/or Grumpy
 4               Beverage dilute Plaintiff’s registered and/or common law trademarks
 5               by advertising and selling a ground coffee product?
 6            s. If Defendants Paul Sandford, Nick Sandford and/or Grumpy Beverage
 7               diluted Plaintiff’s registered and/or common law trademarks by
 8               advertising and selling a ground coffee product, what amount of
 9               damages should be awarded to Plaintiff?
10            t. Did Plaintiff’s representatives make any false statements of fact to
11               Grumpy Beverage’s representatives before entering into the License
12               Agreement?
13            u. If Plaintiff’s representatives made any false statements of fact to
14               Grumpy Beverage’s representatives before entering into the License
15               Agreement, were Plaintiff’s representatives aware that the statements
16               were false?
17            v. If Plaintiff’s representatives made any false statements of fact to
18               Grumpy Beverage’s representatives before entering into the License
19               Agreement, did Plaintiff’s representatives have any reasonable
20               grounds for believing that the statements were true?
21            w. If Plaintiff’s representatives made any false statements of fact to
22               Grumpy Beverage’s representatives before entering into the License
23               Agreement, did Grumpy Beverage take any action in reliance on those
24               statements?
25            x. If Grumpy Beverage took any action in reliance on Plaintiff’s false
26               statements of fact, did Grumpy Beverage incur any damages in
27               connection with that reliance and in what amount?
28

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 1                y. Did Plaintiff’s representatives intentionally conceal any material facts
 2                   from Grumpy Beverage’s representatives before entering into the
 3                   License Agreement?
 4                z. If Plaintiff’s representatives intentionally concealed any material facts
 5                   from Grumpy Beverage’s representatives before entering into the
 6                   License Agreement, did Grumpy Beverage take any action in reliance
 7                   on that concealment?
 8                aa. If Grumpy Beverage took any action in reliance on Plaintiff’s
 9                   concealment, did Grumpy Beverage incur any damages in connection
10                   with that reliance and in what amount?
11                bb. Did Plaintiff interfere with Grumpy Beverage’s actual or prospective
12                   economic relationships and, if so, did Grumpy Beverage suffer
13                   damages and in what amount?
14         9.     All non-expert discovery is complete, and the parties will have completed
15   all expert discovery by December 20, 2017.
16         10.    All disclosures under F.R.Civ.P. 26(a)(3) have been made.
17                The joint exhibit list of the parties has been filed under separate cover as
18   required by L.R. 16-6.1. The parties stipulate as to the admissibility of all exhibits that
19   were included in the parties’ respective initial disclosures, regardless of whether the
20   exhibit is introduced at trial in bates-marked or native format. The parties object to the
21   following exhibits:
22                Plaintiff objects to Exhibit Nos. 611, 612, and 613.
23

24                The objections and grounds therefor are:
25                   o Exhibit 611:
26                           This document was not produced as part of any party’s initial
27                              disclosures, was not produced prior to the filing of
28                              Defendants’ exhibit list, nor had Plaintiff even seen this

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 1                        document until it was provided to Plaintiff at 12:00pm on
 2                        December 7, 2017 (the same day that this FPTCO is being
 3                        filed). Accordingly, the document is inadmissible. See FRCP
 4                        37(c)(1) (If a party “fails to provide information…as required
 5                        by Rule 26(a)…the party is not allowed to use that
 6                        information or witness to supply evidence on a motion, at a
 7                        hearing, or at a trial, unless the failure was substantially
 8                        justified or is harmless”); Torres v. City of Los Angeles, 548
 9                        F.3d 1197, 1212 (9th Cir. 2008) (The rule “gives teeth to [the
10                        initial disclosure requirement] by forbidding the use at trial of
11                        any information required to be disclosed by Rule 26(a) that is
12                        not properly disclosed”).
13                      The entire document is hearsay and/or double hearsay. Fed.
14                        R. Evid. 801.
15                      Because Plaintiff has no idea where this document came
16                        from, who created it, and when it was created, Plaintiff
17                        objects on authentication grounds. Fed. R. Evid. 901.
18                      Since Plaintiff was never provided this document until
19                        December 7, 2017, it has no idea what the relevance of the
20                        document is and therefore objects on relevance grounds.
21                        Fed. R. Evid. 401.
22                      Any relevance of this document (of which Plaintiff is
23                        currently unaware) would be outweighed by the danger of
24                        prejudicing Plaintiff with the use of a document that was not
25                        disclosed to Plaintiff for the entirety of this litigation.
26               o Exhibit 612:
27                      This document was not produced as part of any party’s initial
28                        disclosures, was not produced prior to the filing of

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 1                        Defendants’ exhibit list, nor had Plaintiff even seen this
 2                        document until it was provided to Plaintiff at 12:00pm on
 3                        December 7, 2017 (the same day that this FPTCO is being
 4                        filed). Accordingly, the document is inadmissible. See FRCP
 5                        37(c)(1) (If a party “fails to provide information…as required
 6                        by Rule 26(a)…the party is not allowed to use that
 7                        information or witness to supply evidence on a motion, at a
 8                        hearing, or at a trial, unless the failure was substantially
 9                        justified or is harmless”); Torres v. City of Los Angeles, 548
10                        F.3d 1197, 1212 (9th Cir. 2008) (The rule “gives teeth to [the
11                        initial disclosure requirement] by forbidding the use at trial of
12                        any information required to be disclosed by Rule 26(a) that is
13                        not properly disclosed”).
14                      The entire document is hearsay and/or double hearsay. Fed.
15                        R. Evid. 801.
16                      Because this document is undated, and it is unclear who even
17                        created it or where it was maintained, Plaintiff objects on
18                        authentication grounds. Fed. R. Evid. 901.
19                      Any relevance of this document would be outweighed by the
20                        danger of prejudicing Plaintiff with the use of an
21                        unauthenticated document that was not produced to Plaintiff
22                        for the entirety of this litigation.
23               o
24               o Exhibit 613:
25                      This document was not produced as part of any party’s initial
26                        disclosures, was not produced prior to the filing of
27                        Defendants’ exhibit list, nor had Plaintiff even seen this
28                        document until it was provided to Plaintiff at 12:00pm on

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 1                               December 7, 2017 (the same day that this FPTCO is being
 2                               filed). Accordingly, the document is inadmissible. See FRCP
 3                               37(c)(1) (If a party “fails to provide information…as required
 4                               by Rule 26(a)…the party is not allowed to use that
 5                               information or witness to supply evidence on a motion, at a
 6                               hearing, or at a trial, unless the failure was substantially
 7                               justified or is harmless”); Torres v. City of Los Angeles, 548
 8                               F.3d 1197, 1212 (9th Cir. 2008) (The rule “gives teeth to [the
 9                               initial disclosure requirement] by forbidding the use at trial of
10                               any information required to be disclosed by Rule 26(a) that is
11                               not properly disclosed”).
12                            The entire document is hearsay and/or double hearsay. Fed.
13                               R. Evid. 801.
14                            Because this document is undated, and it is unclear who even
15                               created it or where it was maintained, Plaintiff objects on
16                               authentication grounds. Fed. R. Evid. 901.
17                            Any relevance of this document would be outweighed by the
18                               danger of prejudicing Plaintiff with the use of an
19                               unauthenticated document that was not produced to Plaintiff
20                               for the entirety of this litigation.
21          11.    Witness lists of the parties have been filed with the Court.
22                 Only the witnesses identified in the lists will be permitted to testify (other
23   than solely for impeachment.)
24          12. The following law and motion matters and motions in limine, and no others,
25   are pending or contemplated: none
26          13.    Bifurcation of the following issues for trial is ordered. Plaintiff’s
27   cybersquatting and accounting claims and Defendants’ declaratory relief counterclaims
28   will be tried by the court after the jury trial.

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 1         14.    The foregoing admissions having been made by the parties, and the
 2   parties having specified the foregoing issues remaining to be litigated, this Final
 3   Pretrial Conference Order shall supersede the pleadings and govern the course or the
 4   trial of this cause, unless modified to prevent manifest injustice.
 5

 6   Dated: December 18, 2017
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                                                    _______________________________
                                                    DAVID O. CARTER
 9                                                  U.S. DISTRICT JUDGE
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 1   Approved as to form and content.
 2

 3

 4   Dated: December 18, 2017           LAVELY & SINGER
 5
                                        By:   /s/ David B. Jonelis
 6                                             David B. Jonelis
 7                                      David B. Jonelis, State Bar No. 265235
 8                                      Email: djonelis@lavelysinger.com
                                        2049 Century Park East, Suite 2400
 9                                      Los Angeles, California 90067
                                        Telephone: (310) 556-3501
10                                      Facsimile: (310) 556-3615
11
                                        Attorneys for Plaintiff and Counter-defendant
12                                      GRUMPY CAT LIMITED
13

14                                      By:   /s/ Brian P. Kinder
     Dated: December 18, 2017                  Brian P. Kinder
15
                                        Brian P. Kinder, State Bar No. 212332
16
                                        Email: bkinder@tklglaw.com
17                                      19200 Von Karman Ave., Fourth Floor
                                        Irvine, CA 92612
18                                      Telephone: (949) 216-3070
                                        Facsimile: (949) 216-3074
19

20                                      Attorneys for Counter-claimants
                                        PAUL SANDFORD, NICK SANDFORD,
21                                      and GRUMPY BEVERAGE LLC
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 1                              Attestation Regarding Signatures
 2         I, David B. Jonelis, attest that all signatories listed, and on whose behalf the
 3   filing is submitted, concur in the filing’s content and have authorized the filing.
 4

 5   Dated: December 18, 2017                       By: /s/ David B. Jonelis
 6                                                   David B. Jonelis
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 1                                    ATTACHMENT “1”
 2   Plaintiff’s position:
 3         Intervening Defendant Grumpy Beverage, LLC (“Grumpy Beverage”) contends
 4   that it is not subject to any liability on the claims asserted in Plaintiff’s operative
 5   Complaint because (1) it was not named as a Defendant in that Complaint (which was
 6   filed prior to Grumpy Beverage’s intervention in this action), and (2) Plaintiff never
 7   amended its complaint to name Grumpy Beverage as a defendant.
 8         Grumpy Beverage’s position is absurd and contrary to the well-settled law that
 9   intervenors “enter the suit with the status of original parties and are fully bound by all
10   future court orders.” United States v. State of Or., 657 F.2d 1009, 1014 (9th Cir.
11   1981). In fact, the very same argument raised by Grumpy Beverage has been rejected
12   as a matter of course by federal courts.
13         Although there is extensive authority on the issue should the Court request further
14   briefing, the following discussion from a recent California district court decision, is
15   directly on point:
16         “The City points out that Plaintiffs’ complaint, filed August 18, 2014,
17         names only the various Federal Defendants. Doc. 1. On January 20,
18         2015, the Court granted the City's motion to intervene in this matter as
19         a defendant. Doc. 40. Plaintiffs never filed or sought leave to file an
20         amended complaint naming the City in any claim, but point to
21         compelling authority that suggests no such amendment is required.
22         Intervenors “enter the suit with the status of original parties and are
23         fully bound by all future court orders.” United States v. State of Or.,
24         657 F.2d 1009, 1014 (9th Cir. 1981); see also Schneider v. Dumbarton
25         Developers, Inc., 767 F.2d 1007, 1017 (D.C. Cir. 1985) (“When a party
26         intervenes, it becomes a full participant in the lawsuit and is treated just
27         as if it were an original party.”); Alvarado v. J.C. Penney Co., 997 F.3d
28         803, 805 (10th Cir. 1993) (“We agree that when a party intervenes, it

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 1         becomes a full participant in the lawsuit and is treated just as if it were
 2         an original party.”) (internal citation and quotation omitted). “This
 3         explains [Rule 24’s] requirement that the proposed intervenor file its
 4         own ‘pleading that sets out the claim or defense for which intervention
 5         is sought.’ ” In re Holocaust Victim Assets Litig., No. 14-CV-00890
 6         ERK JO, 2014 WL 2440612, at *8 (E.D.N.Y. May 30, 2014) (quoting
 7         Fed. R. Civ. P. 24(c)). Here, the City's Answer addresses the allegations
 8         contained in each of the three claims in the original Complaint and
 9         asserts   numerous     affirmative   defenses    against    all   of   those
10         claims. See Doc. 41. To now suggest that Plaintiffs should have been
11         required to file an amended complaint to name the City is without
12         merit. The purpose of Rule 8 pleading is to give notice. The City was
13         on notice of the claims in this case, voluntarily intervened, and filed
14         a responsive pleading as to those claims.”
15   Ctr. for Envtl. Sci. Accuracy & Reliability v. Nat'l Park Serv., 2016 WL 4524758, at *9
16   (E.D. Cal. Aug. 29, 2016) (emphasis added),
17         Similarly instructive is the following excerpt from Schneider v. Dumbarton
18   Developers, Inc., 767 F.2d 1007, 1017 (D.C. Cir. 1985) (emphasis added):
19         “When a party intervenes, it becomes a full participant in the lawsuit
20         and is treated just as if it were an original party. See District of
21         Columbia v. Merit Systems Protection Board, 762 F.2d 129, 132
22         (D.C.Cir.1985); Marcaida v. Rascoe, 569 F.2d 828, 831 (5th Cir.1978).
23         The intervenor renders itself “vulnerable to complete adjudication by
24         the federal court of the issues in litigation between the intervenor and
25         the adverse party.” United States v. Oregon, 657 F.2d 1009, 1014 (8th
26         Cir.1981) (quoting 3B Moore's Federal Practice ¶ 24.16[6] (2d ed.
27         1981)). It is said to assume the risk that its position will not prevail and
28         that an order adverse to its interests will be entered. See 7A C. Wright

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 1         & A. Miller, Federal Practice & Procedure § 1920, at 611 (1972). As
 2         we said recently, “the possibility that the plaintiff will be able to obtain
 3         relief against the intervenor-defendant” is part of the “price” paid for
 4         intervention. District of Columbia, at 132.
 5         Moreover, even looking past the well-settled law on the issue of intervening
 6   defendants, the whole premise of Grumpy Beverage’s requested intervention was so
 7   that it could defend against the allegations in Plaintiff’s complaint. See Dkt. 31-1 at
 8   12:11-13 (“Grumpy Beverage’s interests render it the party to proffer evidence in
 9   opposition to the allegations of Grumpy Cat.”); 13:4-5 (“Grumpy Beverage wants to
10   defeat Grumpy Cat’s claims and retain ownership of copyright, trademark and domain
11   name properties”). Indeed, Grumpy Beverage actually filed an answer to the Plaintiff’s
12   Complaint, in which it admitted and/or denied all of the allegations. Dkt. 38. It can
13   hardly claim at this juncture, nearly two years later, that it is not subject ot liability
14   because Plaintiff did not amend the Complaint.
15         Accordingly, there is no legal or factual basis for Grumpy Beverage to claim that
16   it is not subject to Plaintiff’s claims in this action. To the extent that Plaintiff alleged a
17   claim against Grenade Beverage in its Complaint, Grumpy Beverage assumed the risk
18   of defending against that claim when it intervened.
19

20   Defendants’ Position:
21         Defendants assert that GRUMPY BEVERAGE, LLC is an Intervening
22   Defendant, Counterclaimant and Counterclaim-in-Reply Defendant. In that regard,
23   Defendants assert that Plaintiff knowingly and intentionally omitted the entity as a
24   party in the complaint as well as knowingly and intentionally omitted to allege any
25   facts or claims against the entity in the complaint. Defendants further assert that
26   Plaintiff’s only factual allegations and claims against GRUMPY BEVERAGE, LLC
27   are those stated in the Counterclaim-in-Reply. In the event that Plaintiff seeks leave
28   to amend the pleadings to conform to evidence at trial to add GRUMPY BEVERAGE,

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 1   LLC as a party to the complaint, GRUMPY BEVERAGE, LLC hereby preserves the
 2   right to oppose such a motion.
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 1                                   ATTACHMENT “2”
 2   Plaintiff’s Position:
 3         The fact that Grumpy Beverage was not actually served with Plaintiff’s
 4   Complaint is irrelevant at this juncture. Well-settled federal law demonstrates that
 5   Grumpy Beverage waived service when it filed its answer to Plaintiff’s Complaint. See
 6   Benny v. Pipes, 799 F.2d 489, 492 (9th Cir. 1986) (“A general appearance or responsive
 7   pleading by a defendant that fails to dispute personal jurisdiction will waive any defect
 8   in service or personal jurisdiction.”); see also DePrins v. Clark, 566 Fed.Appx. 608,
 9   610 (9th Cir. 2014) (“a party waives service of process when it files an answer to
10   the complaint”).
11

12   Defendants’ Position:
13         Defendant has not had time to prepare a response to this statement as Plaintiff
14   has raised this issue for the first time during the drafting of this Pre-Trial Conference
15   Memo. Defendants will be prepared to address this issue at the Pre-Trial Conference.
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